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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




  United States of America,

                                    Plaintiff,

  v.                                                    Case No. 2:17−cr−20595−MOB−EAS
                                                        Hon. Marianne O. Battani
  Yousef Mohammad Ramadan,
                                    Defendant(s),




                                 NOTICE OF MOTION HEARING

 PLEASE TAKE NOTICE OF THE FOLLOWING:

   NOTICE of hearing on [134] MOTION AND INCORPORATED BRIEF FOR INSPECTION
 OF GRAND JURY VOTE AND TRANSCRIPTS OR ALTERNATIVELY FOR PARTICULARS
 AS TO WHAT EVIDENCE WAS PRESENTED TO THE GRAND JURY as to Yousef
 Mohammad Ramadan. Motion Hearing set for 7/31/2019 02:30 PM before District Judge
 Marianne O. Battani (KDoa)

   All of the aforementioned Defendants are required to appear at the United States District
 Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit, Michigan.




                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                 By: s/K. Doaks
                                                     Case Manager

 Dated: July 11, 2019
